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                 United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 23-3001                                                 September Term, 2023
                                                            FILED ON: SEPTEMBER 5, 2023
IN RE: SEALED CASE


                         Appeal from the United States District Court
                                 for the District of Columbia
                                     (No. 1:22-sc-02144)


       Before: HENDERSON, KATSAS, and RAO, Circuit Judges

                                      JUDGMENT

        This cause came on to be heard on the record on appeal from the United States
District Court for the District of Columbia and was argued by counsel. On consideration
thereof, it is

         ORDERED and ADJUDGED that the judgment of the District Court appealed from
in this cause be vacated in part and remanded to the district court to apply the correct standard
to Representative Perry’s communications with individuals outside the federal government,
communications with members of the Executive Branch, and communications with other
Members of Congress regarding alleged election fraud during the period before Congress’s
vote certifying the 2020 election and before its vote on H.R. 1, consistent with this opinion;
and the judgment be affirmed with respect to the remaining privilege determinations about
Representative Perry’s communications with Members of Congress, in accordance with the
opinion of the court filed herein this date.

                                          Per Curiam

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/

                                                              Daniel J. Reidy
                                                              Deputy Clerk

Date: September 5, 2023

Opinion for the court filed by Circuit Judge Rao.
Concurring opinion filed by Circuit Judge Katsas.
